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                              UNITED ST ATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

DAWUD AMEEN HUSAIN,                                )
                                                   )
                Plaintiff,                         )
                                                   )
         v.                                        )          No. 4:20-CV-607 RLW
                                                   )
JOSEPH N. WALSH, et al.,                           )
                                                   )
                Defendants.                        )

                                MEMORANDUM AND ORDER

        This matter is before the Court on the filing of plaintiffs complaint. Plaintiff has failed to

either pay the full $400 filing fee or file a motion to proceed in forma pauperis.

        Plaintiff, a prisoner, has filed at least three previous cases that were dismissed as

frivolous, malicious, or for failure to state a claim. 1 Under 28 U.S.C. § 1915(g), therefore, the

Court may not grant a motion to proceed in forma pauperis unless the plaintiff "is under

imminent danger of serious physical injury."

        After carefully reviewing the complaint, the Court finds no allegations that show plaintiff

is in imminent danger of serious physical injury. As a result, the Court will Order plaintiff to pay

the full filing fee of $400 within twenty-one days of the date of this Memorandum and Order.

Plaintiffs failure to do so will result in a dismissal of this action without prejudice.

        Accordingly,




1
 See Husain v. Drews, No. 4:18CV1235 CDP (E.D.Mo.); Husain v. State of Mo., No.
4:18CV1466 JCH (E.D.Mo); Husain v. Smith, No. 4:18CV1116 JCH (E.D.Mo); Husain v. State
of Mo, No. 4:18-CV-1008 SNLJ (E.D.Mo); Husain v. Circuit Court of St. Louis County,
Missouri, No. 4:17-CV-2385 CDP (E.D.Mo.); Husain v. Laumier, No. 4:18-CV-1115 JCH
(E.D.Mo.); Husain v. Heggie, No. 4:18-CV-1234 SNLJ (E.D.Mo.).
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       IT IS HEREBY ORDERED plaintiff must pay the full $400 filing fee within twenty-

one days of the date of this Memorandum and Order.

       IT IS FURTHER ORDERED that plaintiffs failure to pay the full filing fee within

twenty-one days of this Memorandum and Order will result in a dismissal of this action, without

prejudice.          ~

       Dated this./:;   day of May, 2020.




                                               UNITED STATES DISTRICT JUDGE




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